 Case 19-31358        Doc 18    Filed 09/04/19 Entered 09/04/19 14:32:57                   Desc Main
                                  Document     Page 1 of 1


                      UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MINNESOTA

In Re:                                                       Case No. 19-31358 KAC

John Jacob Milbauer

         Debtor.

                               ORDER GRANTING RELIEF

       This case is before the court on the motion of U.S. Bank National Association, as
Trustee for CSFB Mortgage-Backed Pass-Through Certificates, Series 2005-11, for relief
from the automatic stay imposed by 11 U.S.C. § 362(a) [DOC 17].

      Based on the record, the court finds that grounds exist under 11 U.S.C. § 362(d) to
warrant relief, but that the motion is moot as to the debtor, the automatic stay having
terminated upon entry of the debtor’s discharge.

         IT IS ORDERED:

         1.    The motion for relief from stay is granted as follows.

       2.      The automatic stay imposed by 11 U.S.C. § 362(a) is terminated as to the
estate’s interest in the property such that the movant may exercise its rights and remedies
under applicable nonbankruptcy law with respect to the following property:

         Lot One (1), Block Two (2), Kempf's LaBelle; Together with an undivided 1/18th
         interest in Outlot B, Kempf's LaBalle; Together with an easement for ingress and
         egress as established in that certain agreement recorded as document number
         321865, Washington County, Minnesota

       3.      Notwithstanding Federal Rule of Bankruptcy Procedure 4001(a)(3), this
order is effective immediately.


Dated: ______________________
           September 4, 2019               _________________________________
                                            /e/ Katherine A. Constantine
                                           United States Bankruptcy Judge
                                               127,&(2)(/(&7521,&(175<$1'
                                               ),/,1*25'(525-8'*0(17
                                               )LOHGDQG'RFNHW(QWU\PDGHRQ09/04/2019
                                               /RUL9RVHMSND&OHUNE\MKQ
